Case 1:21-cr-00445-CKK Document 19 Filed 06/30/21 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-mj-253 (ZMF)
ANDREW ALAN HERNANDEZ, > 18U,S.C. §§ 1512(c)(2),2
: (Obstruction ofan Official Proceeding);
Defendant. : 180U.8.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds);

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds);

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress);

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol
Building); and

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, ANDREW
ALAN HERNANDEZ, attempted to, and did, corruptly obstruct, influence, and impede an official
proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
Case 1:21-cr-00445-CKK Document 19 Filed 06/30/21 Page 2 of 3

COUNT TWO
On or about January 6, 2021, in the District of Columbia, ANDREW ALAN
HERNANDEZ, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting, without

lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, ANDREW ALAN
HERNANDEZ, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, when and so that such conduct did in fact
impede and disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, ANDREW ALAN
HERNANDEZ, willfully and knowingly entered and remained in the gallery of either House of

Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))
Case 1:21-cr-00445-CKK Document 19 Filed 06/30/21 Page 3 of 3

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, ANDREW ALAN
HERNANDEZ, willfully and knowingly engaged in disorderly and disruptive conduct within the
United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, ANDREW ALAN

HERNANDEZ, willfully and knowingly paraded, demonstrated, and picketed in any United

States Capitol Building.
(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,

United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Ckonmin D Pips /p—
Attorney of the United States in

and for the District of Columbia.
